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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
In re:                                                    Chapter 11
ASHINC Corporation, et al.,                               Case No. 12-11564 (CSS)
                              Debtors.                    (Jointly Administered)

CATHERINE E. YOUNGMAN, LITIGATION                         Adv. Proc. No. 13-50530
TRUSTEE FOR ASHINC CORPORATION, ET AL., AS
SUCCESSOR TO THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS OF ASHINC
CORPORATION, AND ITS AFFILIATED DEBTORS,

                              Plaintiff,

BDCM OPPORTUNITY FUND II, LP, BLACK
DIAMOND CLO 2005-1 LTD., and SPECTRUM
INVESTMENT PARTNERS, L.P.,

                              Intervenors,

                     v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P., and
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P.,

                              Defendants.
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CATHERINE E. YOUNGMAN, LITIGATION                  Adv. Pro. No. 14-50971 (CSS)
TRUSTEE FOR ASHINC CORPORATION, ET AL., AS
SUCCESSOR TO BDCM OPPORTUNITY FUND II,
LP, BLACK DIAMOND CLO 2005-1 LTD.,
SPECTRUM INVESTMENT PARTNERS, L.P., BLACK
DIAMOND COMMERCIAL FINANCE, L.L.C., as co-
administrative agent, and SPECTRUM COMMERCIAL
FINANCE LLC, as co-administrative agent,

                       Plaintiff,

v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P., and
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P.,

                      Defendants.




LITIGATION TRUSTEE’S MEMORANDUM OF LAW IN RESPONSE TO YUCAIPA’S
   MOTION FOR A STAY OF THE EFFECTIVENESS AND ENFORCEMENT OF
                    JUDGMENT PENDING APPEAL
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                                PRELIMINARY STATEMENT1

      Yucaipa’s Motion for a Stay of the Effectiveness and Enforcement of Judgment Pending

Appeal (13-50530, D.I. 845; 14-50971, D.I. 583, the “Stay Motion”) seeks a remedy already

available to it as a matter of right. It simply has to post a bond or other security. See FED. R.

CIV. P. 62(b); FED. R. BANKR. P. 7062.2 “The purpose of a supersedeas bond [requirement]

under Rule 62[(b)] is to preserve the status quo during the pendency of an appeal and protect the

winning party from the possibility of loss resulting from the delay in execution.”3 Remarkably,

however, Yucaipa asks the Court — on a supposed “emergency” basis — to waive all protection

for the Trustee’s right to the approximately $132.4 million in damages and prejudgment interest

awarded without any showing that it is incapable of posting a bond or security during the years it

may spend appealing this Court’s Opinion.

      The Third Circuit recognizes that a stay of a judgment pending appeal is an “extraordinary

remedy” that is “rarely granted, because in [this Circuit] the bar is set particularly high.” See

Conestoga Wood Specialties Corp. v. Sec. of U.S. Dep’t of Health & Hum. Servs., 2013 WL

1277419, at *1 (3d Cir. Feb. 8, 2013). The “standard for obtaining a stay pending appeal is

essentially the same as that for obtaining a preliminary injunction.” Id. As such, Yucaipa bears

the heavy burden of demonstrating (1) it has a strong likelihood to succeed on the merits of its


1
        Abbreviations relied on, and citation conventions used in, the Trustee’s briefing for
summary judgment and her response to Yucaipa’s Objections (13-50530, D.I. 836; 14-50971, D.I.
574) (the “Trustee Responses”) are used again here. For the Court’s convenience, an appendix
of abbreviations relied on by the Trustee is attached as Appendix A. The Trustee hereby
incorporates by reference all evidence, arguments, and authorities set forth in (1) the summary
judgment briefing (2) during oral argument on summary judgment held on February 4, 2021, and
(3) the Trustee’s Responses to Yucaipa’s Objections.
2
        FED. R. CIV. P. 62(b) — made applicable by FED. R. BANKR. P. 7062 — provides: “At any
time after judgment is entered, a party may obtain a stay by providing a bond or other security.”
3
       VICI Racing LLC v. T-Mobile USA, 921 F. Supp. 2d 317, 335 (D. Del. 2013), vacated in
part on other grounds, 763 F.3d 273 (3d Cir. 2014).


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appeal; (2) it will be irreparably injured absent a stay; (3) the issuance of the stay will not

substantially injure the Trustee; and, (4) the public interest lies in granting the stay sought.

Yucaipa cannot carry its burden on any, much less all, of these required showings. The Stay

Motion should be denied.

                                           ARGUMENT

I.     THERE IS NOT A STRONG LIKELIHOOD THAT YUCAIPA WILL PREVAIL ON APPEAL

       A.      This Court Did Not Err in Finding it Had Authority
               to Enter Final Orders and Judgments on Estate Claims

       The Supreme Court’s decision in Wellness Int’l Network v. Sharif, 575 U.S. 665, 686

(2015) makes clear that parties may consent to a bankruptcy court “enter[ing] appropriate orders

and judgments” by express or implied consent. Yucaipa’s Stay Motion persists in spinning a

fiction that Yucaipa never consented because it “repeatedly and consistently objected to the

Court issuing any final orders or judgments” with respect to Estate Claims. (Stay Motion at ¶27

& n.14). As previously addressed in the Trustee Responses, it did not. Among other things:

       Yucaipa Consented to Jurisdiction Because its Answer Did Not Include Any Rule

7012 Statement and It Admitted the Estate Action Was a Core Proceeding. Yucaipa filed its

operative Answer to the Estate Claims on April 1, 2013. (13-50530, D.I. 95) (the “Answer”).

At that time, FED. R. BANKR. P. 7012(b) provided that “if the response is that the proceeding is

non-core, it shall include a statement that the party does or does not consent to entry of final

orders or judgment by the bankruptcy judge.”4 No such statement is included in Yucaipa’s

Answer. Rather, in responding to the allegation that “the adversary proceeding is a ‘core’

proceeding pursuant to 28 U.S.C. § 157(b)[,]” Yucaipa averred, without a denial, that the


4
         Emphasis is added to, and quotations and internal punctuation is omitted from, quotations
in this brief, unless otherwise indicated.


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allegation “set forth legal conclusions to which no response is required.” (Compare 13-50530,

D.I. 76 at ¶22 & Answer ¶22). Courts considering this precise scenario have held that the failure

to deny this allegation functions as an admission to the Court’s jurisdiction. See, e.g., In re

Groggel, 333 B.R. 261, 268 (Bankr. W.D. Pa. 2005) (“Unfortunately for [defendant], the

Trustee’s averment that the instant adversary proceeding is a core matter is not the kind of

allegation [by the Trustee] to which no responsive pleading is required. In fact, such a

responsive pleading is explicitly required under Bankruptcy Rule 7012(b).”); see also Hirschfield

v. B’nai B’rith Int’l, 2010 WL 11565250, at *5 (W.D. Pa. Aug. 10, 2010) (“[A] bankruptcy court

may find that failure to admit or deny the [] party’s core averment is an admission that the

adversary proceeding is core, and therefore, an expression of consent to judgment by the

bankruptcy court”); see also FED. R. CIV. P. 8(b)(1)(B) and 8(b)(6) (failure to deny an allegation

as to which a response is required functions as an admission).

       Yucaipa Previously Claimed This Court Had “Exclusive Jurisdiction” Over Claims

Regarding the First Lien Credit Agreement. Prior to filing its Answer in the Estate Action,

Yucaipa filed counterclaims and cross-claims in the related Allied Adversary Proceeding

alleging that the action — which addressed the parties’ rights under the First Lien Credit

Agreement — “constitute[d] a core proceeding pursuant to 28 U.S.C. § 157” and “implicate[d]

matters within this Court’s exclusive jurisdiction under 28 U.S.C. § 1334.” (See 12-50947, D.I.

65, ¶31). Yucaipa also admitted that the Bankruptcy Court had jurisdiction in the Allied

Adversary Proceeding and that it was a core proceeding (id. at 5 (¶¶30-31)), while maintaining

that the Bankruptcy Court is “the only court capable of resolving the core issues” relating to the

First Lien Credit Agreement. (Id. at 15; see also Trustee Responses at 6-7). Further, in

responding to BD/S’ motion for summary judgment filed in both the Allied Adversary




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Proceeding and the Estate Action on July 23, 2013, Yucaipa did not include any statement that it

did not consent to entry of final orders and judgment as required by this Court’s Local Rule

7012-1, which provides:

               In addition to statements required by Rule 7012(b) of the Federal Rules of
       Bankruptcy Procedure, any answer, motion or response shall contain a statement
       that the filing party does or does not consent to entry of final orders or judgment by
       the Court if it is determined that the Court, absent consent of the parties, cannot
       enter final orders or judgments consistent with Article III of the United States
       Constitution. If no such statement is included in the answer, motion or
       responses thereto, the filing party shall have waived the right to contest the
       authority of the Court to enter final orders or judgment.5

       Yucaipa Never Objected to This Court’s Prior Orders and Judgments. Over the

long history of these proceedings, this Court has issued multiple Orders and Judgments without

objection from Yucaipa with respect to its ability to do so. For example, on February 27, 2013,

this Court dismissed Yucaipa’s cross-claims and counterclaims in the Allied Adversary

Proceedings, finding, among other things, that it “has judicial power to enter a final Order.” (12-

50947, D.I. 139 at 3). Yucaipa filed an appeal without raising any jurisdictional challenge to the

Court’s issuance of the final order. (Id., D.I. 149). Similarly, Yucaipa raised no objection to this

Court’s jurisdiction when it granted summary judgment to BD/S in the Estate Action on August

8, 2013. (13-50530, D.I. 280, 289). Nor did Yucaipa raise a jurisdictional objection in its

appeals to the District Court and Third Circuit seeking to overturn this order, or in its failed

petition for panel rehearing.6

       Yucaipa Did Not Consistently Object Following the Wellness Decision. Nor did


5
       See https://www.deb.uscourts.gov/sites/default/files/local_rules/LocalRules_2013.pdf.
6
       See In Re Allied Sys. Holdings, Inc., 556 B.R. 581 (D. Del. 2016), aff’d sub nom. In re
ASHINC Corp., 683 F. App’x 131 (3d Cir. 2017) (affirming this Court’s holdings that (i) the Fourth
Amendment is void ab initio, (ii) the Third Amendment was validly enacted, (iii) Yucaipa’s First
Lien Debt holdings are excluded from calculating Requisite Lender status, (iv) BD/S are Requisite
Lenders, and (v) the First Lien Credit Agreement and Third Amendment are unambiguous).


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Yucaipa begin “consistently object[ing] to the Court issuing any final orders or judgments” in the

wake of the Supreme Court’s ruling in Wellness, which made it clear that implied consent to the

Bankruptcy Court’s issuance of final orders and judgments is sufficient. See Wellness, 575 U.S.

at 686.7 For example, Yucaipa’s counsel filed a Certificate of Counsel concerning an amended

case scheduling order on July 1, 2016 — i.e., over a year and a half after the Wellness decision

— which included a statement that Yucaipa’s former co-defendant “Mr. Gendregske d[id] not

consent to the entry of final orders or judgments by the Court[,]” while remaining silent on the

issue with respect to Yucaipa. (See 13-50530, D.I. 391). Further, Yucaipa affirmatively

consented to entry of a final judgment by this Court in the Allied Adversary Proceeding over

three years after Wellness was decided.8

       Yucaipa Cannot Revoke Its Consent After 4.5 Years. To support its contention that it

“consistently objected to the Court issuing any final orders or judgments,” Yucaipa continues to

rely on “no consent” language raised in filings for first time four and a half years into the Estate



7
        Yucaipa relies heavily on its argument that it “cannot be deemed to have impliedly
consented to the Court’s entry of a final order” because Rule 7012(b) required express consent of
the parties prior to an amendment effective December 1, 2016. (Stay Motion at ¶28). This is
wrong. The Supreme Court’s decision in Wellness — which pre-dates the 2016 amendments to
the Federal Rules of Bankruptcy Procedure — held that a party can implicitly consent to the
Bankruptcy Court’s adjudication of non-core matters under 28 U.S.C. § 157. See Wellness, 575
U.S. at 684-85. Moreover, the Third Circuit has made clear that a litigant’s conduct can determine
whether it knowingly and voluntarily consented without regard to whether there was express
consent in a party’s Answer to a Complaint. See, e.g., In re Tribune Media Co., 902 F.3d 384, 394
(3d Cir. 2018) (collecting cases in which implied consent was sufficient, including several cases
commenced prior to the effective date of the 2016 amendments to the Bankruptcy Rules). See also
In re Stipetich, 294 B.R. 635, 650 (Bankr. W.D. Pa. 2003) (“the substantial weight of authority
indicates that a party can impliedly consent to entry of judgment by the bankruptcy court in a
non-core related matter”); In re St. Mary Hosp., 117 B.R. 125, 131 (Bankr. E.D. Pa. 1990) (“an
admission that a proceeding is core accords irrevocable consent to a bankruptcy court to determine
the proceeding, even if it is non-core.”).
8
      See 12-50947, D.I. 317 at 3 (“[F]inal judgment is hereby entered as to all issues in this
Adversary Proceeding.”).


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Action. (See Stay Motion at 9-10 & n.14) (identifying first objection on August 31, 2017).

Yucaipa’s earlier consent to this Court’s jurisdiction in the Estate Action, however, cannot be

revoked after four and a half years. See, e.g., In re Pennsylvania Gear Corp., 2008 WL 2370169,

at *5 (E.D. Pa. Bankr. Apr. 22, 2008) (admission to jurisdiction “accords irrevocable consent to

bankruptcy court to determine the proceeding”) (quoting In re St. Mary Hosp., 117 B.R. at 131).

       Moreover, it is not even clear whether the “no consent” language raised for the first time

in a filing in the Estate Action in August 2017 was actually intended to apply to the Estate

Claims at issue in the Judgment.9 As discussed in the Trustee’s Responses, it became the parties’

practice to file duplicate copies in both Adversary Proceedings after the Litigation Trustee was

substituted as Plaintiff in both actions and the two Adversary Proceedings were coordinated for

discovery purposes in early 2017. (Trustee Responses at 9). Thus, it is unclear whether Yucaipa

simply intended its “no consent” language to continue to reserve objections previously raised to

the Court’s jurisdiction in the Lender Action where — unlike the Estate Action — Yucaipa (1)

stated in the Answer that it did not consent to the Court’s jurisdiction; (2) filed a motion to

withdraw the reference; and (3) sought a determination of the non-core status of Lender Direct

Claims 2-4. (Id.). Yucaipa’s Stay Motion fails to dispel any uncertainty in this respect.

       B.      The Court Did Not Err by Entering a Rule 54(b) Judgment

       The Court committed no error by entering Judgment pursuant to FED. R. CIV. P. 54(b).

As set forth in the Judgment, this was done for multiple reasons, including the critical reality that

the “long and arduous” litigation history between the parties has “now resulted in the Trustee’s

reasonable concerns about the solvency of Yucaipa.” (Judgment at 5).10 This Court is afforded


9
       See 13-50530, D.I. 841; 14-50971, D.I. 579 (the “Judgment”).
10
        Yucaipa’s election to file the Stay Motion rather than obtain the relief sought as a matter
of right by posting a bond or security makes clear that these concerns are justified.


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broad discretion in making this determination, and Yucaipa does not (because it cannot) contend

that the Court improperly considered this factor. See Berckeley Inv. Grp. v. Colkitt, 455 F.3d

195, 202-03 (3d Cir. 2006) (including “delay, economic and solvency considerations” among the

factors relevant to the question whether there is “no just reason to delay”).11 On this basis alone,

Yucaipa fails to demonstrate that it is likely to succeed on the merits of an appeal that the Court

improperly certified the Judgment.

       Yucaipa’s arguments regarding the overlapping nature of the adjudicated and

unadjudicated claims are also baseless.

       Overlapping Factual Issues, If Any, Are Insignificant. Yucaipa argues that “the

factual findings made in connection with the Opinion supporting the Judgment implicate the

remainder of the claims.” (Stay Motion at 13-14). The Court, however, did not make any

factual findings in the Opinion and the facts forming the basis of the Judgment were undisputed.

Yucaipa admitted that it breached the Capital Contribution Provision,12 and it does not dispute

the transfers that formed the basis of the Judgment on Estate Claims 10, 11, and 13. Indeed,

Yucaipa has not indicated that it will challenge these facts on appeal (see Stay Motion at 15-17),



11
        Yucaipa’s suggestion that the Court failed to adequately explain its reasoning for granting
judgment to the Trustee under Rule 54(b) is meritless. (See Stay Motion at 11-12). A “brief
reasoned statement in support of [the Court’s] determination” is sufficient in the Third Circuit.
See Allis-Chalmers Corp. v. Philadelphia Elec. Co., 521 F.2d 360, 364 (3d Cir. 1975); see also
Carter v. City of Philadelphia, 181 F.3d 339, 345-46 (3d Cir. 1999) (A statement of reasons stands
not as a “jurisdictional prerequisite” but “a prophylactic means of enabling the appellate court to
ensure that immediate appeal will advance the purposes of the rule”). Here, the Court’s reasoning
serves this purpose.
12
        13-50530, D.I. 822 at 59:25-60:15 (Yucaipa’s Counsel: “[I]n hindsight we know the fourth
amendment was void ab initio, so when Yucaipa acquired more than the third amendment allowed,
that was a breach of the contract. The second breach is what we call the capital contribution
provision … [T]en days after acquiring term loans [Yucaipa] needs to make a capital contribution;
undisputed Yucaipa didn’t do that. And, again … in hindsight we know that that was required,
and it was a breach of the contract in failing to make the capital contribution within ten days.”).


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and they will remain undisputed at trial. As the Court stated in the Opinion, the factual issues

that remain to be tried concern Yucaipa’s conduct as Requisite Lender, including its “conduct in

the JCT Negotiations” and whether it “caused Allied to commit events of default under the

FLCA.” (Opinion at 109) (denying summary judgment in part on Estate Claims 1-2 and Lender

Claim 1). These facts, among others, are part of the Trustee’s remaining claims, including for

Equitable Subordination (Estate Claims 1-2 and Lender Claim 1), Breach of Fiduciary Duty

(Estate Claim 7), and Breach of the Duty of Good Faith and Fair Dealing (Lender Claim 3). The

reality is that the remaining factual issues of significance for trial relate to Yucaipa torpedoing

the JCT Transaction in late 2011 and 2012. The appeal from the Judgment will not address these

facts or the legal claims underlying it remaining for trial. As such, Yucaipa’s assertion that there

are “[o]verlapping factual issues between the claims decided on summary judgment and those

remaining for trial” is overstated, at best. (Stay Motion at 13).13 See also Keurig, Inc. v. Sturm

Foods, Inc., 2012 WL 12896333, at *2 (D. Del. Nov. 2, 2012) (relevant question is not whether

there is any factual overlap between the adjudicated and unadjudicated claims, but whether “the

degree of overlap is insignificant on the whole.”), aff’d, 732 F.3d 1370 (Fed. Cir. 2013).

       There Are No Overlapping Damages. There is also no possibility of overlapping

damages being considered on appeal. Contrary to Yucaipa’s assertion that the damages from its

alleged breaches of fiduciary duty “arise out of the same conduct and alleged harm that form the

basis of the breach of contract claims” (Stay Motion at 12), the Trustee seeks different measures

of damages for these claims. For Yucaipa’s breach of contract, the Trustee sought (and this

Court awarded) the cash value of the Capital Contribution that Yucaipa was required to make by


13
         As discussed in the Trustee’s Responses, Yucaipa’s reference to Judge Robinson’s remarks
regarding the relationship between the Estate Claims and Lender Claims (which Yucaipa repeats
in its Stay Motion), are inapposite. (See Trustee Responses at 13 n.25).


                                                  8
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August 31, 2009. (Opinion at 32-33). In contrast, the Trustee measures damages for Yucaipa’s

breaches of fiduciary duty as the difference between the proceeds the Estate should have

received from a sale to JCT in late 2011 to 2012, and the proceeds it actually received as a result

of Yucaipa’s fiduciary breaches. (See Singer Declaration Ex. 103 (Risius Report) ¶¶91-100).14

       Yucaipa also exaggerates the possibility of overlapping damages between the claims

resolved by the Judgment and the Trustee’s equitable subordination claims. (Stay Motion at 12).

“[T]he Third Circuit has opined that the doctrine of equitable subordination was intended by

Congress to allow for flexible application by the courts.” In re Winstar Commc’ns, Inc., 2007

WL 1232185, at *5 (D. Del. Apr. 26, 2007), aff’d in part, modified in part, 554 F.3d 382 (3d Cir.

2009). This Court is more than capable of awarding damages to the Trustee for its equitable

subordination claims that are distinct from the damages awarded in the Judgment.

       C.      The Court Did Not Decide Disputed Issues of Fact

       Recycling rejected arguments raised in its 9033 Objections, Yucaipa again argues that the

Court made “improper factual findings,” which are subject to a successful appeal. (See Stay

Motion at 15-17; 9033 Objections at 10-12). Yucaipa, however, still fails to point to evidence it

put forth precluding the entry of summary judgment on any issue forming the basis of the

Opinion, Order, and Judgment. As discussed below, none of Yucaipa’s “illustrative” examples

is likely to succeed on appeal. See In re Revstone Indus., LLC, 2019 WL 2929328, at *4 (D. Del.

July 8, 2019) (“Contrary to Defendant’s assertions, the Bankruptcy Court did not weigh any

evidence or determine the truth of any matter. Rather, the Bankruptcy Court determined that


14
       While the Trustee seeks the Lenders’ damages from the JCT sale as the measure of
damages for Lender Claim 3 (Breach of the Duty of Good Faith and Fair Dealing), the Trustee has
already clarified that it is not seeking duplicative damages. (13-50530, D.I. 770 at 45). Should
the Court award the Trustee the damages it seeks for Estate Claim 7 (breach of fiduciary duty), the
Trustee would not seek further damages for Lender Claim 3.


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Defendant failed to present anything in rebuttal to the Motions other than conclusory, self-

serving, and hedged statements unsupported by any evidence.”).

       Yucaipa’s Option to Contribute Cash or Debt in August 2009. The Court awarded

the Trustee the cash value of the Capital Contribution that Yucaipa was required to make on

August 31, 2009, (1) relying on the plain meaning of the First Lien Credit Agreement (which

gave Yucaipa the option of making a cash contribution), and (2) recognizing the undisputed fact

that Yucaipa can no longer contribute its Term Loans to Allied. (Opinion at 28-32). Whether it

would have made more sense for Yucaipa to contribute Term Loans, rather than cash, to Allied

on August 31, 2009, has no bearing on this determination because it is undisputed that “Allied

received neither.” (Id. at 30). Yucaipa has no likelihood of a successful appeal based on

arguments that fail to address the actual merits of the Court’s decision.

       The Effect on Allied of Yucaipa’s Failure to Make a Capital Contribution. For the

reasons discussed in the Trustee’s Responses, Yucaipa’s assertion that the Court “speculat[ed]”

regarding the effect on Allied of Yucaipa’s failure to make a Capital Contribution is baseless.

The Court rejected Yucaipa’s expert’s speculation regarding the effect on Allied if Yucaipa had

made the Capital Contribution and awarded damages to the Trustee based on settled New York

law that the full cash value of the Capital Contribution is a stable foundation to award damages

for Yucaipa’s admitted breach. (See Trustee Responses at 18-19). Yucaipa’s argument, which

fails to challenge the Court’s legal conclusions, has no likelihood of success on appeal.

       Whether Yucaipa Demanded a Premium on Its Debt Was Not “Heavily Disputed.”

Yucaipa’s arguments that it offered ratable treatment to First Lien Lenders during the JCT

Negotiations cannot substitute for evidence creating a genuine dispute on this issue. (See id. at

17-18). In any event, the Court specifically held that whether “Yucaipa’s conduct in the JCT




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Negotiations was unreasonable” remained a triable issue of fact. (Opinion at 109). Thus, there

is nothing for Yucaipa to appeal relating to this issue.

       The Court Correctly Applied New York Law to Measure Damages. The Court

correctly held that: (1) Yucaipa failed to carry its burden with respect to proving the damages (or

lack thereof) resulting from its breach of the Capital Contribution Provision; and (2) the Trustee

offered a “stable foundation” for a reasonable estimate. (Opinion at 31; see also Trustee

Reponses at 19-20). Yucaipa’s conclusory argument that there was “genuine dispute” on this

issue fails to explain how the Court’s application of New York law on this issue was erroneous.

(Stay Motion at 17).

       The Court Followed Third Circuit Precedent in Concluding that Yucaipa Acted in

Bad Faith. The Court concluded that Yucaipa did not act in good faith in amending the First

Lien Credit Agreement by applying the Third Circuit’s precedent on this issue (Opinion at 65),

not by “weigh[ing] conflicting evidence,” as Yucaipa wrongly asserts (Stay Motion at 17).

Yucaipa has no likelihood of success on an appeal misconstruing the Court’s decision.

       The “Intent of the Parties with Respect to the Covenant-Not-to-Sue” Was Not a

Disputed Issue. The Court determined that the Covenant Not to Sue did not bar the Estate’s

breach of contract claim based on the plain meaning of the First Lien Credit Agreement.

(Opinion at 38) (“The language is clear and unambiguous that the Covenant Not to Sue only

applies when Yucaipa makes a Capital Contribution of its Term Loans, which Yucaipa did not

do.”). Thus, the parties’ subjective intent is irrelevant and cannot form the basis of a successful

appeal under controlling New York law. See HOP Energy, L.L.C. v. Loc. 553 Pension Fund,

678 F.3d 158, 162 (2d Cir. 2012) (“With unambiguous contracts, a party’s subjective intent and

understanding of the terms is irrelevant.”).




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       D.      Yucaipa Fails to Challenge the Court’s
               Critical Holding Regarding the Covenant Not to Sue

       Yucaipa repeats its argument that the Court improperly referred to hypothetical

“omissions” that could apply to the Covenant Not to Sue in rejecting Yucaipa’s interpretation of

the provision. (Stay Motion at 18-19; see also 9033 Objections at 13). Again, this argument

does not have a strong likelihood of success because it fails to challenge the Court’s critical

holding that the Covenant Not to Sue was unambiguous. (See Trustee Reponses at 20-21).

Yucaipa’s alternative argument that the Court’s understanding of the plain meaning of Covenant

Not to Sue is “unsupported by the evidence” is also deficient and runs counter to black letter

New York law. See Int’l Multifoods Corp. v. Com. Union Ins. Co., 309 F.3d 76, 83 (2d Cir.

2002) (under New York law, “if the court finds that the contract is not ambiguous it should

assign the plain and ordinary meaning to each term and interpret the contract without the aid of

extrinsic evidence and it may then award summary judgment”).

       E.      The Court Awarded Prejudgment Interest on
               Estate Claims 10, 11, and 13 at the Customary Rate

       Yucaipa argues that the Court’s award of prejudgment interest on Estate Claims 10, 11,

and 13 was “unsupported” but fails to cite any precedent from this Circuit (or Delaware) for its

contention that an award of prejudgment interest requires an “explanation.” (See Stay Motion at

19-20).15 In Delaware, successful plaintiffs are entitled to prejudgment interest “as a matter of

right” and federal courts in this State routinely set prejudgment interest at Delaware’s “legal

rate” of 5% over the Federal Reserve discount rate. See, e.g., Heritage Handoff Holdings, LLC




15
       In fact, an explanation is only required in this Circuit when a trial court deviates from the
general policy of awarding prejudgment interest. See, e.g., Marcus v. PQ Corp., 458 F. App’x
207, 214 (3d Cir. 2012) (“An abuse of discretion occurs when a [trial] court deviates from this
policy without a reasoned explanation.”).


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v. Fontanella, 2019 WL 1056270, at *13 (D. Del. Mar. 6, 2019) (plaintiff’s request for Delaware

legal rate “is consistent with the approach taken by Delaware courts” and is “reasonable”); see

also CIGNEX Datamatics, Inc. v. Lam Rsch. Corp., 2021 WL 212692, at *2 (D. Del. Jan. 21,

2021) (awarding prejudgment interest at Delaware legal rate); In re Green Field Energy Servs.,

Inc., 2018 WL 6191949, at *89 n.6 (Bankr. D. Del. Nov. 28, 2018) (same). The Judgment is not

subject to remand for following this State’s customary practice.16

II.    YUCAIPA WILL NOT SUFFER IRREPARABLE HARM IN THE ABSENCE OF A STAY

        “To establish irreparable harm, a stay movant must demonstrate an injury that is neither

remote nor speculative, but actual and imminent.” In re Revel AC, Inc., 802 F.3d 558, 571 (3d

Cir. 2015). Yucaipa’s arguments fail to satisfy this burden for at least three reasons:

       First, Yucaipa’s argument that an alleged constitutional violation creates a presumption

of irreparable harm has been expressly rejected in the Third Circuit. See Hohe v. Casey, 868

F.2d 69, 73 (3d Cir. 1989) (“Constitutional harm is not necessarily synonymous with the

irreparable harm necessary for issuance of a preliminary injunction”); see also Norfolk S. Corp.

v. Oberly, 594 F. Supp. 514, 522 (D. Del. 1984) (“The Third Circuit has made it clear that not all

violations of constitutional rights constitute irreparable injury.”).17 In any event, any error

supposedly made by this Court in entering a judgment is harmless because the District Court can

cure it by issuing its own judgment following a de novo review. As such, Yucaipa cannot satisfy



16
        Yucaipa’s argument that In re Opus E., LLC, 528 B.R. 30 (Bankr. D. Del. 2015) is
“inconsistent” with the Court’s award in this case is meritless. In Opus, the Court recognized that
Delaware courts “[g]enerally … apply the ‘legal rate of interest’ for prejudgment interest” but
decided that the federal judgment rate was the “appropriate” rate in that case without further
explanation. Id. at 108-109. How the Opus Court elected to exercise its discretion is not binding
on this Court’s exercise of its discretion.
17
       Yucaipa’s reliance on authority strictly from the Second Circuit is, therefore, inapposite.
(Stay Motion at ¶51).


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its burden of showing irreparable harm by pointing to its alleged constitutional violation. See

Exec. Benefits Ins. Agency v. Arkinson, 573 U.S. 25, 39-40 (2014) (District Court’s de novo

review of the Bankruptcy Court’s order granting summary judgment and entry of its own

judgment cured any error in the Bankruptcy Court’s earlier entry of judgment).

        Second, Yucaipa’s contention that the Trustee would “attempt to dismantle” it before it

can appeal or defend the remaining claims is speculative, and speculation cannot constitute

irreparable harm as a matter of law. (Stay Motion at 21). See In re Extraction Oil & Gas, Inc.,

2020 WL 7186847, at *5 (D. Del. Dec. 7, 2020) (“To satisfy the irreparable harm factor, a stay

movant must demonstrate an injury that is neither remote nor speculative” rather than

“hypothetical and contingent”).

        Third, Yucaipa fails to offer any explanation as to why it has no alternative means to

satisfy the Judgment, including by invoking its indemnification rights under its Limited

Partnership Agreements. (See 12-11564 D.I. 4086 at 8 n.5) (quoting provision in Limited

Partnership Agreement authorizing Yucaipa to require limited partners to return distributions to

satisfy the Partnership’s “indemnity obligations for Damages”); see also Extraction Oil, 2020

WL 7186847, at *5 (movant failed to show irreparable harm that would result from approved

rejection of contracts and leases because movant failed to analyze “whether the pipelines could

be sold or whether they could renegotiate new rates and contracts”). Moreover, Yucaipa’s

founder and controlling partner — Ron Burkle — is a billionaire.18 If Yucaipa believes it has a

strong likelihood of success on appeal, it could rely on its founder to support issuance of a bond

or security.



18
        See, e.g., https://www.forbes.com/profile/ron-burkle/?sh=4d8329e64460 (estimating Ron
Burkle’s net worth at $1.5 billion); see also Scolnick Ex. 12 (Burkle Dep.) 148:3-9 (testifying that
he “fl[ies] an embarrassing[ly] large plane … all over the country”).


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III.     THE TRUSTEE WILL BE SEVERELY PREJUDICED
         IF A STAY IS GRANTED WITHOUT ANY BOND OR SECURITY

         Yucaipa maintains that the “Trustee [will] not be harmed by a stay of the Judgment

pending appeal” and, that Yucaipa should therefore not be required to post a bond. (Stay Motion

¶¶54, 57-61). Both contentions are utterly devoid of merit.

         As addressed in the Trustee’s Motion for an Order Authorizing the Taking of Document

Discovery and Deposition Testimony from the Yucaipa Funds (12-11564, D.I. 4086) (the “Rule

2004 Motion”), the Trustee discovered in late 2019 that Yucaipa was dissipating assets through

large distributions to its investors notwithstanding the massive contingent liability presented by

the Adversary Proceedings and its General Partner’s duty to maintain adequate reserves for such

liabilities.19

         In early 2020, the Trustee sought a consensual turnover of information regarding

Yucaipa’s distributions to assess what measures are necessary to protect the beneficiaries of the

Litigation Trust consistent with her fiduciary obligations, including through commencement of

any actions as to which limitations periods may be running. Yucaipa refused to turn over the

relevant information, citing unspecified “privacy concerns” and arguing, among other things, that

the relief sought is relevant “only if [the Trustee] were able to obtain a judgment against

Yucaipa” in the Adversary Proceedings, and “only if that judgment exceeded the approximately

$45 million (not including interest) reserved under the Allied Plan for reimbursement of

Yucaipa’s litigation fees and expenses and as Yucaipa’s pro rata share of first lien Lender



19
        Any suggestion that the Adversary Proceedings presented less than a substantial risk of
significant liability for Yucaipa is not credible. By 2017, Yucaipa had exhausted its appeals to
challenge, among other things, multiple courts’ rulings that the Fourth Amendment to the First
Lien Credit Agreement was void ab initio and that the Third Amendment was operative. (See n.6,
above). As such, Yucaipa was, at a minimum, indisputably in breach of its obligations under the
mandatory Capital Contribution provision.


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distribution.” (12-11564, D.I. 4105 at 2).

        During a hearing on the Rule 2004 Motion on September 24, 2020, this Court

acknowledged that the Trustee’s concerns were valid, and that the matter should not be overly

delayed due to the Trustee’s need to obtain discovery prior to the potential expiration of statutes

of limitations.20 The Rule 2004 Motion was denied without prejudice to renewal after the

parties’ cross-motions for summary judgment were decided. The Trustee sought renewal shortly

after issuance of the Opinion and is respectfully awaiting a decision regarding Rule 2004

discovery into Yucaipa’s distributions. Now that the Judgment for approximately $132.4 million

has been granted, it is critical that the Trustee promptly obtain disclosure provided by FED. R.

BANKR. P. 7069 and/or Rule 2004. If Yucaipa is granted a stay without a bond requirement, it

will inevitably rely on the stay to continue shielding disclosure of information which, by its own

admission, is now relevant. This presents the risk of serious prejudice to the Trustee with respect

to collection efforts.

        Additionally, the Court should reject Yucaipa’s contention that a bond is not necessary

because there is an “absence of proof showing a likelihood of harm” in this case.21 The burden

of proving a likelihood that it will suffer irreparable injury in the absence of a stay lies on

Yucaipa. The Trustee does not bear the burden of coming forward with evidence that it will be

harmed if a stay is not granted. The purpose of the supersedeas bond under Rule 62(b) is to

protect the winning party from the risk of delay in execution on a judgment. See VICI Racing,

921 F. Supp. 2d at 335. Courts have routinely read this rule as “requiring the whole amount of



20
        See 12-11564, D.I. 4152 at 25.
21
       Tellingly, Yucaipa is limited to a sound bite from a 57-year-old inapposite case — decided
outside this Circuit — to support this proposition. (See Stay Motion at ¶58 (citing Cont’l Oil Co.
v. Frontier Ref. Co., 338 F.2d 780, 782 (10th Cir. 1964)).

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the judgment remaining unsatisfied, costs on the appeal, interest, and damages for delay.” See,

e.g., S. Track and Pump, Inc. v. Terex Corp., 2014 WL 4825249, at *1 (D. Del. Sept. 29, 2014);

VICI Racing, 921 F. Supp. 2d at 335 (“The bond in whatever form should generally be sufficient

in amount to satisfy the judgment, plus interest and costs.”). The Stay Motion makes no showing

that Yucaipa is incapable of posting a bond to protect the full Judgment, interests, and costs.22

Instead, it suggests that the $45 Million in “the Disputed Obligations Escrow provides the

Trustee with … protection.” (Stay Motion at ¶60). However, accounts holding only about a

third of the Judgment awarded — with a trial over even larger claims on the horizon — do not

provide sufficient protection for the Trustee.

IV.    A STAY IS NOT IN THE PUBLIC INTEREST

       The public interest weighs in favor of denying the Stay Motion. “[A]s a general matter,

there is always a strong public interest in having lawsuits move forward to resolution as speedily

as possible.” In re Nw. Missouri Holdings, Inc., 2015 WL 3638000, at *3 (D. Del. June 11,

2015). In contrast, there are no Article III concerns at stake because Yucaipa failed to

demonstrate that it was deprived of any constitutional right. (See pp. 2-6, above). See also In re

Am. Tissue, Inc., 2015 WL 1516973, at *5 (D. Del. Mar. 31, 2015) (movant’s argument that “the

enforcement of the case law and the statute is clearly in the public's interest” is unpersuasive

because movant “has failed to demonstrate that the statute or case law weighs in his favor.”).

Any interest that Yucaipa had in having an Article III court enter judgment in this case was

eviscerated by its knowing and voluntary waiver of that right. Moreover, as discussed above and




22
       A failure to make this showing, standing alone, is grounds to deny the extraordinary relief
sought by Yucaipa. See, e.g., Ryan v. Asbestos Workers Union Loc. 42 Pension Fund, 2002 WL
87470, at *1 (D. Del. Jan. 22, 2002) (Denying motion to stay bond requirement because “[t]he
defendants have made no showing that posting the bond would be impossible or impractical.”).


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in the Trustee Responses, Yucaipa’s Article III concerns are unfounded because it will be

receiving the same de novo review from the District Court regardless of whether it is presented

as proposed findings and conclusions or the Judgment.

                                        CONCLUSION

       For the foregoing reasons, the Trustee respectfully requests that the Court deny Yucaipa’s

request for a stay of the enforcement of the Judgment pending exhaustion of its appellate rights.




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Dated: July 2, 2021


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                                           Appendix A

                                Abbreviations and Defined Terms

13-50530               Catherine E. Youngman, Litig. Tr. for ASHINC Corp. v. Yucaipa
                       Am. All. Fund I, L.P., Adv. Proc. No. 13-50530 (Bankr. D. Del.)
14-50971               Catherine E. Youngman, Litig. Tr. for ASHINC Corp. v. Yucaipa
                       Am. All. Fund I, L.P., Adv. Proc. No. 14-50971 (Bankr. D. Del.)
2005 Bankruptcy        In re Allied Holdings, Inc., et al., Case Nos. 05-12515 through 05-
                       12526 and 05-12528 through 05-12537 (Bankr. N.D. Ga.)
9033 Objections        Yucaipa’s Objections to the Bankruptcy Court’s May 4, 2021
                       Summary Judgment Opinion and Order [Federal Rule of Bankruptcy
                       Procedure 9033], dated May 18, 2021 (13-50530, D.I. 828; 14-
                       50971, D.I. 566)
Active                 Active Carhaul
Allied Adversary       ASHINC Corp. v. AMMC VIII, Ltd. et al., Adv. Proc. No. 12-50947-
Proceeding             CSS (Bankr. D. Del)
Allied or the Company ASHINC Corp.(formerly known as Allied Systems Holdings, Inc.)
                       and related Debtors
Amended Plan           Debtors’ Modified First Amended Joint Chapter 11 Plan of
                       Reorganization dated December 3, 2015 (Case No. 12-11564, D.I.
                       3360-1)
Answer                 Answer and Affirmative Defenses of Yucaipa to Plaintiff’s
                       Amended Complaint, dated April 1, 2013 (13-50530, D.I. 95)
BD/S                   Black Diamond and Spectrum
Black Diamond          BDCM Opportunity Fund II, LP and Black Diamond CLO 2005-1
                       Ltd.
Board                  Allied’s Board of Directors
Burkle                 Defendant Ronald Burkle
CIT                    CIT Group/Business Credit, Inc.
ComVest                ComVest Investment III, L.P.
Covenant Not to Sue    Covenant not to sue at § 2.7(f) of the First Lien Credit Agreement
                       (Ex. 9)
Credit Agreements      Allied’s First Lien Credit Agreement and Second Lien Credit
                       Agreement
D. Del. Compl.         Yucaipa Am. All. Fund I, L.P. et al. v. Richard A. Ehrlich et al., No.
                       15-cv-373 (D. Del. May 8, 2015), ECF No. 1
Direct Lender Claims Claims brought on behalf of the lenders under Allied’s first lien
                       credit facility asserted in Adv. Proc. No. 14-50971
Ehrlich Decl.          The accompanying Declaration of Richard Ehrlich, dated December
                       18, 2020
Entities Opposition or Litigation Trustee’s Opposition to the Motion for Summary
Entities Opp.          Judgment by Yucaipa American Alliance Fund I, LP and Yucaipa
                       American Alliance (Parallel) Fund I, LP, dated July 17, 2020


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Estate Claims           Claims brought on behalf of the Allied Estates asserted in Adv.
                        Proc. No. 13-50530
Ex.                     Exhibits to the first Declaration of Gila S. Singer, dated May 1, 2020
                        (13-50530, D.I. 713; 14-50971, D.I. 466); Second Declaration of
                        Gila S. Singer, dated August 21, 2020 (13-50530, D.I. 772; 14-
                        50971, D.I. 516); and the accompanying Third Declaration of Gila
                        S. Singer
First Lien Credit       Amended and Restated First Lien Secured Super-Priority Debtor in
Agreement or            Possession and Exit Credit and Guaranty Agreement, dated as of
“FLCA”                  May 15, 2007 (Ex. 9)
Gendregske Br.          Defendant Mark Gendregske’s Opening Brief in Support of his
                        Motion for Summary Judgment, dated May 1, 2020 (13-50530, D.I.
                        708)
Georgia Action          Allied Systems Holdings, Inc., et al. v. The CIT Group/Business
                        Credit, Inc., Civil Action No. 2009-CV-177574 (Super. Ct. Fulton
                        Cnty.)
Harris Decl.            The accompanying Declaration of Adam C. Harris, dated December
                        18, 2020

Indiv. Br.            Memorandum of Points and Authorities in Support of Motion for
                      Summary Judgment by Defendants Ronald Burkle, Jos Opdeweegh,
                      Derex Walker, Jeff Pelletier, and Ira Tochner (13-50530, D.I. 699;
                      14-50971, D.I. 456)
Individual Defendants Defendants Ronald Burkle, Jos Opdeweegh, Derex Walker, Jeff
                      Pelletier, and Ira Tochner
Individuals           Litigation Trustee’s Opposition to the Motion for Summary
Opposition or         Judgment by the Individual Defendants, dated July 17, 2020
Indiv. Opp.
Jack Cooper or JCT    Jack Cooper Transport
JCT 363 Sale          Purchase by JCT of substantially all of Allied’s assets for $135
                      million following an auction for Debtors’ assets under 11 U.S.C.
                      §363, which closed on December 27, 2013
Joint Procedural      Joint Procedural History, dated July 25, 2019 (13-50530, D.I. 599;
History               14-50971, D.I. 365)
Judgment              Judgment, dated June 23, 2021 (13-50530, D.I. 841; 14-50971, D.I.
                      579)
Kasowitz              Kasowitz Benson Torres LLP
Latham                Latham & Watkins LLP
LPA                   Loan Purchase Agreement between Yucaipa and ComVest, dated
                      August 21, 2009 (Ex. 43)
MMSA                  Monitoring and Management Services Agreement, dated May 29,
                      2007 (Scolnick Ex. 32)




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NY Action            BDCM Opportunity Fund II, LP, et al. v. Yucaipa American
                     Alliance Fund I, L.P., et al., Index No. 650150/2012 (N.Y. Sup. Ct.
                     N.Y. Cnty.)
Objections           9033 Objections and Proposed Judgement Objections
Opinion              Opinion, dated May 4, 2021 (13-50530, D.I. 825; 14-50971, D.I.
                     563)
Opposition or Opp.   Opposition to the Litigation Trustee’s Motion for Summary
                     Judgment by Defendants Yucaipa American Alliance Fund I, L.P.,
                     Yucaipa American Alliance (Parallel) Fund I, L.P., Ronald Bukle,
                     Ira Tochner, Derex Walker, Jos Opdeweegh, and Jeff Pelletier
Order                Order, dated May 4, 2021 (13-50530, D.I. 826; 14-50971, D.I. 564)
Plan                 Second Amended Joint Plan of Reorganization, In re Allied
                     Holdings, Inc., No. 05-12515 (CRM) (Bankr. N.D. Ga.), D.I. 2802
                     (Ex. 11)
Proposed Judgment    Objection to Entry of Judgment and Additional Objections to the
Objections           Proposed Form of Judgment Submitted by the Litigation Trustee;
                     Request for Stay in the Alternative, dated May 18, 2021 (13-50530,
                     D.I. 830; 14-50971, D.I. 568)
Requisite Lenders    As defined in Allied’s First Lien Credit Agreement (Ex. 9 at 41)
Rule 2004 Motion     Trustee’s Motion for an Order Pursuant to Bankruptcy Rule 2004
                     and/or Sections 105(a) and 542(e) of the Bankruptcy Code
                     Authorizing the Taking of Document Discovery and Deposition
                     Testimony from the Yucaipa Funds, dated July 31, 2020 (12-11564,
                     D.I. 4086)
Scolnick Ex.         Exhibits to the Declaration of Kahn A. Scolnick, dated May 1, 2020
                     (13-50530, D.I. 721; 14-50971, D.I. 457)
Scolnick Opp. Ex.    Exhibits to the Declaration of Kahn A. Scolnick, dated August 21,
                     2020 (13-50530, D.I. 767; 14-50971, D.I. 511)
SDNY Compl.          Yucaipa Am. All. Fund I, L.P. et al. v. Richard A. Ehrlich et al., No.
                     15-cv-916 (S.D.N.Y. Feb. 6, 2015), ECF No. 1
Second Lien Credit   Second Lien Secured Super-Priority Debtor in Possession and Exit
Agreement            Credit and Guaranty Agreement, dated as of May 15, 2007
Spectrum             Spectrum Investment Partners, L.P.
Stay Motion          Yucaipa’s Motion for a Stay of the Effectiveness and Enforcement
                     of Judgment Pending Appeal Pursuant to Bankruptcy Rule 7062 and
                     8007(a), dated June 25, 2021 (13-50530, D.I. 845; 14-50947, D.I.
                     583)
Tender Offer         February 4, 2009 tender offer by Yucaipa for Allied first lien debt
                     (Ex. 30)
Third Amendment      Amendment No. 3 to First Lien Credit Agreement and Consent,
                     dated as of April 17, 2008
Troutman             Troutman Sanders LLP
Trustee              Plaintiff Catherine E. Youngman, as Litigation Trustee for ASHINC
                     Corp. (formerly known as Allied Systems Holdings, Inc.) and
                     related Debtors

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Trustee Brief       Litigation Trustee’s Memorandum in Support of Motion for Partial
                    Summary Judgment, dated May 1, 2020 (13-50530, D.I. 706; 14-
                    50971 D.I. 463)
Trustee Responses   Trustee’s Memorandum in Response to: (1) Yucaipa’s Objections to
                    Summary Judgment Opinion and Order, Entry of Judgment, and
                    Proposed Form of Judgment, and (2) Questions from the Court,
                    dated June 22, 2021 (13-50530, D.I. 836; 14-50947, D.I. 574)
UVTA                Uniform Voidable Transactions Act
Yucaipa             Defendants Yucaipa American Alliance Fund I, L.P. and Yucaipa
                    American Alliance (Parallel) Fund I, L.P.
Yucaipa Br.         Memorandum of Points and Authorities in Support of Motion for
                    Summary Judgment by Defendants Yucaipa American Alliance
                    Fund I, L.P. and Yucaipa American Alliance (Parallel) Fund I, L.P.,
                    dated May 1, 2020 (13-50530, D.I. 697; 14-50971, D.I. 454)
Yucaipa Directors   Defendants Jos Opdeweegh, Derex Walker, Jeff Pelletier, and Ira
                    Tochner
Yucaipa-ComVest     Yucaipa’s August 21, 2009 purchase of ComVest’s $145.1 million
Transaction         (principal face amount) of Allied First Lien Debt for approximately
                    $43 million pursuant to the LPA




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